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8                        UNITED STATES DISTRICT COURT
9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11    UNITED ARISTS CORPORATION, a                Case No. 2:19-cv-828-MWF (MAAx)
      Delaware corporation,
12                                                Before the Honorable Michael W.
13                      Plaintiff,                Fitzgerald
14          v.                                    FINAL JUDGMENT AND
15                                                PERMANENT INJUNCTION
16    UNITED ARTIST STUDIOS LLC, a
      Nevada limited liability company;
17    UNITED ARTIST FILM FESTIVAL
18    LLC, a Nevada limited liability
      company; XLI TECHNOLOGIES
19    INC., a revoked Nevada corporation;
20    XLI41 L.L.C., a Nevada limited
      liability company; JAMES P.
21
      SCHRAMM, an individual; and DOES
22    1-10, inclusive,
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                        Defendants.
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26          The Court previously granted summary judgment in favor of Plaintiff United
27    Artists Corporation (“United Artists”) and against Defendant James P. Schramm.
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1     (Docket No. 182). The Court also previously entered a default judgment against
2     the Corporate Defendants. (Docket No. 190). All claims in this action are now
3     resolved.
4           NOW, THEREFORE, pursuant to Rules 54, 58, and 65(d) of the Federal
5     Rules of Civil Procedure,
6           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
7     judgment in favor of United Artists be entered as follows:
8           1. Schramm is found to have willfully infringed the UNITED ARTISTS
9                 Marks under 15 U.S.C. § 1114 and the common law; willfully violated
10                15 U.S.C. § 1125(a); willfully diluted the UNITED ARTISTS mark
11                under 15 U.S.C. § 1125(c); willfully committed cyberpiracy under 15
12                U.S.C. § 1125(d); willfully violated California Business & Professions
13                Code section 17200 by engaging in unlawful, unfair, and fraudulent
14                business practices; and willfully committed unfair competition under the
15                common law;
16          2. Schramm and, as applicable, his agents, servants, employees, partners,
17                representatives, assigns, successors, related companies, and attorneys,
18                and all persons in active concert or participation with Schramm or with
19                any of the foregoing, who receive actual notice of this Final Judgement
20                and Permanent Injunction by personal service or otherwise, are
21                PERMANENTLY ENJOINED from the following:
22                   a. Manufacturing, transporting, promoting, importing, advertising,
23                      publicizing, distributing, offering for sale, or selling any goods or
24                      services offered under the UNITED ARTIST STUDIOS and
25                      UNITED ARTIST FILM FESTIVAL marks, UNITED ARTISTS
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                        Marks, or any other mark, name, symbol, or logo, which is likely
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                        to cause confusion or to cause mistake or to deceive persons into
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1                   the erroneous belief that any goods or services that Schramm
2                   caused to enter the stream of commerce or any of Schramm’s
3                   commercial activities are sponsored or licensed by United Artists,
4                   are authorized by United Artists, or are connected or affiliated in
5                   some way with United Artists or the UNITED ARTISTS Marks;
6                b. Manufacturing, transporting, promoting, importing, advertising,
7                   publicizing, distributing, offering for sale, or selling any goods or
8                   services offered under the UNITED ARTIST STUDIOS and
9                   UNITED ARTIST FILM FESTIVAL marks, the UNITED
10                  ARTISTS Marks, or any other mark, name, symbol, or logo that is
11                  a copy or colorable imitation of, incorporates, or is confusingly
12                  similar to the UNITED ARTISTS Marks;
13               c. Implying United Artists’ approval, endorsement, or sponsorship of,
14                  or affiliation or connection with, Schramm’s goods, services, or
15                  commercial activities, passing off Schramm’s businesses as those
16                  of United Artists’, or engaging in any act or series of acts which,
17                  either alone or in combination, constitutes unfair methods of
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                    competition with United Artists and from otherwise interfering
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                    with or injuring the UNITED ARTISTS Marks or the goodwill
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                    associated therewith;
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                 d. Engaging in any act which is likely to dilute the distinctive quality
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                    of the UNITED ARTISTS Marks and/or injures United Artists’
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                    business reputation;
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                 e. Representing or implying that Schramm is in any way sponsored
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                    by, affiliated or connected with, or licensed by United Artists;
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                 f. Using “United Artist Studios LLC,” “United Artist Film Festival
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                    LLC,” the UNITED ARTISTS Marks, or any other mark, name,
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1                    symbol, or logo that is a copy or colorable imitation of,
2                    incorporates, or is confusingly similar to the UNITED ARTISTS
3                    Marks, as a trade name; and
4                 g. Knowingly assisting, inducing, aiding, or abetting any other person
5                    or business entity in engaging in or performing any of the activities
6                    referred to in paragraphs a. to g. above.
7           3. Schramm shall, within fifteen (15) days from the service of this Final
8              Judgment and Permanent Injunction, deliver to United Artists for
9              destruction any and all digital files, packaging, printed graphics,
10             promotional materials, business cards, signs, labels, advertisements,
11             flyers, circulars, and any other items in their possession, custody, or
12             control bearing the UNITED ARTIST STUDIOS and UNITED ARTIST
13             FILM FESTIVAL marks, the UNITED ARTISTS Marks, or any other
14             mark, name, symbol, or logo that is a copy or colorable imitation of,
15             incorporates, or is confusingly similar to the UNITED ARTISTS Marks;
16          4. Schramm shall transfer to United Artists any and all domain names
17             confusingly similar to United Artists, including, but not limited to,
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               theuaevent.com; theuafilmfestival.com; theunitedartistff.com;
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               theunitedartistfilmfestival.com; uacorporateheadquarters.com;
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               uacorporatestudios.com; uaentertainmentcorp.com; uaffevent.com;
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               uafilmfestival.com; unitedartistdigitalstudios.com; unitedartistff.com;
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               unitedartistfilmfestival.com; unitedartistmet.com;
23
               unitedartistmetropolitan.com; unitedartists41.com;
24
               unitedartistsdigital.com; unitedartistsentertainmentcorporation.com;
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               unitedartistsreleasing.org; unitedartistsstudiocorporation.com; and
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               unitedartiststudios.com;
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1           5. United Artists is entitled to recover from Schramm and Defendants
2              United Artist Studios LLC, United Artist Film Festival LLC, XLI
3              Technologies, Inc., and XL141 L.L.C., jointly and severally, profits in
4              the amount of $463,277.63; and
5           6. United Artists is awarded its costs as provided by law.
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8     Dated: October 29, 2020        ______________________________
                                          MICHAEL W. FITZGERALD
9                                         United States District Judge
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